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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF RHODE ISLAND

    CATHERINE M. CURLEY, Individually and as               :
    Personal Representative of the                         :
    Estate of Leo Mr. Curley, Jr.                          :
                                                           :
           v.                                              :   C.A. No.: 1:16-cv-00676-M-PAS
                                                           :
    RICHARD T. ZUERNER, M.D.,                              :
    UROLOGY ASSOCIATES, INC.,                              :
    AARON W. WAY, D.O.,                                    :
    OSTEOPATHIC FAMILY MEDICINE, LLC,                      :
    JOHN/JANE DOE, M.D., Alias, and                        :
    JOHN DOE CORPORATION, Alias                            :


                             SECOND AMENDED COMPLAINT

                                   PARTIES AND JURISDICTION

           1.      Catherine M. Curley is a citizen of Port Charlotte, Florida.

            2.       Catherine M. Curley is the surviving wife of Leo M. Curley, Jr., who died on
    November 18, 2017. She was appointed Personal Representative of the Estate of Leo M.
    Curley, Jr. in the Circuit Court for Charlotte County, Florida on February 27, 2018.

             3.      Defendant Richard T. Zuerner, M.D. upon information and belief is a citizen
    and resident of the State of Rhode Island. At all times mentioned herein, said defendant was
    engaged in the practice of medicine in the State of Rhode Island and held himself out to be a
    specialist in the field of urology.

            4.      Defendant Urology Associates, Inc. is a business organization existing under
    the laws of the State of Rhode Island with a principal place of business therein. At all
    relevant times, defendant Urology Associates, Inc. was engaged in the provision of medical
    care services. At all relevant times, defendant Richard T. Zuerner, M.D. was an employee,
    agent, and/or servant of Urology Associates, Inc.

            5.     Defendant Aaron W. Way, D.O. upon information and belief is a citizen and
    resident of the State of Rhode Island. At all times mentioned herein, said defendant was
    engaged in the practice of medicine in the State of Rhode Island and held himself out to be
    an osteopathic physician.

            6.      Defendant Osteopathic Family Medicine, LLC is a business organization
    existing under the laws of the State of Rhode Island with a principal place of business
    therein. At all relevant times, defendant Osteopathic Family Medicine, LLC was engaged in
    the provision of medical care services. At all relevant times, defendant Aaron W. Way, M.D.
    was an employee, agent, and/or servant of Osteopathic Family Medicine, LLC.
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             7.      Defendants John/Jane Doe, M.D., Alias, upon information and belief were
    citizens and residents of the State of Rhode Island. The true names of defendants are
    unknown to plaintiffs who consequently sue such defendants by said fictitious names.
    Plaintiffs will seek leave to amend their complaint to state the true names of defendant
    John/Jane Doe, M.D., Alias, when such have been ascertained.

             8.     Defendant John Doe Corporation, Alias upon information and belief is a
    business organization existing under the laws of the State of Rhode Island with a principal
    place of business therein. The true name of the defendant corporation is unknown to
    plaintiffs who consequently sue such defendant by said fictitious name. Plaintiffs will seek
    leave to amend their complaint to state defendant John Doe Corporation, Alias’s true name
    when such has been ascertained.

            9.     This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332, in
    that there is diversity of citizenship among the parties, and the amount in controversy
    exceeds $75,000, exclusive of interests and costs.

                                            COUNT I
                                          NEGLIGENCE
                                    RICHARD T. ZUERNER, M.D.

              1.    Plaintiffs hereby incorporate Paragraphs 1 through 9 as if fully set forth
    herein.

          2.     On or about June 12, 2007 and thereafter, defendant Richard T. Zuerner,
    M.D. undertook for a valuable consideration to diagnose, treat, and care for Mr. Curley.

            3.       It then and there became and was the duty of defendant Richard T. Zuerner,
    M.D. to exercise that degree of diligence and skill required of the average physician engaged
    in the practice of urology.

            4.     Nevertheless, defendant Richard T. Zuerner, M.D. disregarded his duty as
    aforesaid and failed to exercise said degree of diligence and skill in that he failed to properly
    diagnose and failed to render adequate, proper, and necessary treatment to Mr. Curley and
    was otherwise negligent in his diagnosis, treatment, and care of him.

           5.      On or about September 4, 2014, Mr. Curley was first diagnosed with
    amyloidosis by his nephrologist Joseph Romanello, M.D.

           6.      Mr. Curley passed away on November 18, 2017 as a result of acute diastolic
    congestive heart failure and end stage renal disease secondary to amyloidosis.

            7.     Mr. Curley’s injury was such that in the exercise of reasonable diligence it was
    not discoverable to him until a date within three years of the commencement of this action.
    R.I.G.L § 9-1-14.1(2).




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            8.      As a direct and proximate result of defendant Richard T. Zuerner, M.D.’s
    negligence as aforesaid, Mr. Curley suffered severe personal injuries and ultimately died.

             9.     By reason of the foregoing, plaintiff Catherine M. Curley has been and will
    continue to be deprived of the services, affection, society, and consortium of her late
    husband Leo M. Curley, Jr., which damages are remunerable under R.I. Gen. Laws §10-7-
    1.2(a), and was otherwise damaged.

          10.     By reason of the foregoing, Leo M. Curley, Jr.’s estate has incurred expenses
    for medical and nursing treatment and care, medicines, counseling, and the like, which
    damages are remunerable under R.I. Gen. Laws §10-7-5.

            11.    By reason of the foregoing, the statutory beneficiaries of Leo M. Curley, Jr.’s
    estate have suffered damages as set forth in R.I. Gen. Laws §10-7-1 et seq., including
    pecuniary damages as provided under R.I. Gen Laws §10-7-1.1, and were otherwise
    damaged.

            12.     As a direct and proximate result of defendant Richard T. Zuerner, M.D.’s
    negligence as aforesaid, Leo M. Curley, Jr. suffered severe injuries to his mind, body, nerves
    and nervous system, and endured extreme mental pain and suffering, all of which damages
    are remunerable on behalf of the estate of Leo M. Curley, Jr., as set forth under R.I. Gen
    Laws §10-7-7.

           13.     By reason of the foregoing, Leo M. Curley, Jr.’s estate incurred funeral and
    administration expenses, which damages are remunerable on behalf of the estate under R.I.
    Gen. Laws §10-7-5.

            WHEREFORE, plaintiff Catherine M. Curley, Individually and as Personal
    Representative of the Estate of Leo M. Curley, Jr. demands judgment against defendant
    Richard T. Zuerner, M.D. in an amount exceeding the jurisdictional minimum of this Court,
    exclusive of interest and costs, and whatever further relief this Court deems just.

                                           COUNT II
                                  LACK OF INFORMED CONSENT
                                  RICHARD T. ZUERNER, M.D.

           1.      Plaintiffs hereby incorporate Count I as if fully set forth herein.

             2.     It then and there became the duty of defendant Richard T. Zuerner, M.D.,
    no emergency existing, to inform Mr. Curley of the risks of harm attendant to the treatment
    and care he proposed to administer to and perform upon him so that he could give his
    informed consent to such treatment. It also then and there became the duty of defendant
    Richard T. Zuerner, M.D. to obtain Mr. Curley’s informed consent before proceeding with
    said treatment and care.




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            3.      Nevertheless, defendant Richard T. Zuerner, M.D. disregarded his duty as
    aforesaid and failed to inform Mr. Curley of the risks of harm attendant to the treatment and
    care in question and proceeded to perform said treatment and care without having obtained
    Mr. Curley’s informed consent.

             4.     If defendant Richard T. Zuerner, M.D. had informed Mr. Curley of the risks
    of harm attendant to the treatment and care in question, including, but not limited to, the
    risk that he might suffer those injuries from which he suffered as a direct performance of
    said treatment and care, Mr. Curley would have refused to consent to the performance of the
    treatment and care therein involved.

           5.      On or about September 4, 2014, Mr. Curley was first diagnosed with
    amyloidosis by his nephrologist Joseph Romanello, M.D.

           6.      Mr. Curley passed away on November 18, 2017 as a result of acute diastolic
    congestive heart failure and end stage renal disease secondary to amyloidosis.

            7.     Mr. Curley’s injury was such that in the exercise of reasonable diligence it was
    not discoverable to him until a date within three years of the commencement of this action.
    R.I.G.L § 9-1-14.1(2).

            8.      As a direct and proximate result of defendant Richard T. Zuerner, M.D.’s
    negligence as aforesaid, Mr. Curley suffered severe personal injuries and ultimately died.

             9.     By reason of the foregoing, plaintiff Catherine M. Curley has been and will
    continue to be deprived of the services, affection, society, and consortium of her late
    husband Leo M. Curley, Jr., which damages are remunerable under R.I. Gen. Laws §10-7-
    1.2(a), and was otherwise damaged.

          10.     By reason of the foregoing, Leo M. Curley, Jr.’s estate has incurred expenses
    for medical and nursing treatment and care, medicines, counseling, and the like, which
    damages are remunerable under R.I. Gen. Laws §10-7-5.

            11.    By reason of the foregoing, the statutory beneficiaries of Leo M. Curley, Jr.’s
    estate have suffered damages as set forth in R.I. Gen. Laws §10-7-1 et seq., including
    pecuniary damages as provided under R.I. Gen Laws §10-7-1.1, and were otherwise
    damaged.

            12.     As a direct and proximate result of defendant Richard T. Zuerner, M.D.’s
    negligence as aforesaid, Leo M. Curley, Jr. suffered severe injuries to his mind, body, nerves
    and nervous system, and endured extreme mental pain and suffering, all of which damages
    are remunerable on behalf of the estate of Leo M. Curley, Jr., as set forth under R.I. Gen
    Laws §10-7-7.

           13.     By reason of the foregoing, Leo M. Curley, Jr.’s estate incurred funeral and
    administration expenses, which damages are remunerable on behalf of the estate under R.I.
    Gen. Laws §10-7-5.



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            WHEREFORE, plaintiff Catherine M. Curley, Individually and as Personal
    Representative of the Estate of Leo M. Curley, Jr. demands judgment against defendant
    Richard T. Zuerner, M.D. in an amount exceeding the jurisdictional minimum of this Court,
    exclusive of interest and costs, and whatever further relief this Court deems just.

                                          COUNT III
                                         NEGLIGENCE
                                    UROLOGY ASSOCIATES, INC.

           1.      On or about June 12, 2007 and thereafter defendant Urology Associates, Inc.
    undertook for a valuable consideration to diagnose, treat, and care for Mr. Curley.

             2.     It then and there became and was the duty of said defendant Urology
    Associates, Inc. through its agents, servants, employees and partners, to exercise ordinary
    care in the diagnosis, treatment, and care of Mr. Curley.

            3.      Nevertheless, defendant Urology Associates, Inc. disregarded its duty as
    aforesaid and, through its agents, servants, employees, and partners, failed to exercise said
    ordinary care in that the employees, agents, servants, and/or partners of defendant Urology
    Associates, Inc. failed to properly diagnose and failed to render adequate, proper and
    necessary treatment to Mr. Curley and were otherwise negligent in their diagnosis, treatment,
    and care of him.

            4.      As a direct and proximate result of defendant Urology Associates, Inc.’s
    negligence as aforesaid, Mr. Curley suffered severe personal injuries and ultimately died.

           5.      On or about September 4, 2014, Mr. Curley was first diagnosed with
    amyloidosis by his nephrologist Joseph Romanello, M.D.

           6.      Mr. Curley passed away on November 18, 2017 as a result of acute diastolic
    congestive heart failure and end stage renal disease secondary to amyloidosis.

            6.7.   Mr. Curley’s injury was such that in the exercise of reasonable diligence it was
    not discoverable to him until a date within three years of the commencement of this action.
    R.I.G.L § 9-1-14.1(2).

             8.     By reason of the foregoing, plaintiff Catherine M. Curley has been and will
    continue to be deprived of the services, affection, society, and consortium of her late
    husband Leo M. Curley, Jr., which damages are remunerable under R.I. Gen. Laws §10-7-
    1.2(a), and was otherwise damaged.

          9.      By reason of the foregoing, Leo M. Curley, Jr.’s estate has incurred expenses
    for medical and nursing treatment and care, medicines, counseling, and the like, which
    damages are remunerable under R.I. Gen. Laws §10-7-5.




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            10.    By reason of the foregoing, the statutory beneficiaries of Leo M. Curley, Jr.’s
    estate have suffered damages as set forth in R.I. Gen. Laws §10-7-1 et seq., including
    pecuniary damages as provided under R.I. Gen Laws §10-7-1.1, and were otherwise
    damaged.

            11.     As a direct and proximate result of defendant Urology Associates, Inc.’s
    negligence as aforesaid, Leo M. Curley, Jr. suffered severe injuries to his mind, body, nerves
    and nervous system, and endured extreme mental pain and suffering, all of which damages
    are remunerable on behalf of the estate of Leo M. Curley, Jr., as set forth under R.I. Gen
    Laws §10-7-7.

           12.     By reason of the foregoing, Leo M. Curley, Jr.’s estate incurred funeral and
    administration expenses, which damages are remunerable on behalf of the estate under R.I.
    Gen. Laws §10-7-5.

            WHEREFORE, plaintiff Catherine M. Curley, Individually and as Personal
    Representative of the Estate of Leo M. Curley, Jr. demands judgment against defendant
    Urology Associates, Inc. in an amount exceeding the jurisdictional minimum of this Court,
    exclusive of interest and costs, and whatever further relief this Court deems just.

                                          COUNT IV
                                      CORPORATE LIABILITY
                                    UROLOGY ASSOCIATES, INC.

           1.      Plaintiffs hereby incorporate Count III as if fully set forth herein.

            2.      It then and there became and was the duty of defendant Urology Associates,
    Inc. to provide quality medical care to Mr. Curley to exercise the care in granting credentials
    and privileges to those providing care and treatment at Urology Associates, Inc., to protect
    his safety, to protect him from incompetent and/or negligent treatment, and to otherwise
    exercise reasonable care for his protection and well-being.

            3.       Nevertheless, defendant Urology Associates, Inc. negligently disregarded its
    duty as aforesaid in that it failed to promulgate and enforce policies and procedures to insure
    the delivery of ordinary medical group care and otherwise failed to discharge its
    responsibilities as a medical group to Mr. Curley.

            4.      As a direct and proximate result of defendant Urology Associates, Inc.’s
    negligence as aforesaid, Mr. Curley suffered severe personal injuries and ultimately died.

           5.      On or about September 4, 2014, Mr. Curley was first diagnosed with
    amyloidosis by his nephrologist Joseph Romanello, M.D.

           6.      Mr. Curley passed away on November 18, 2017 as a result of acute diastolic
    congestive heart failure and end stage renal disease secondary to amyloidosis.




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            7.     Mr. Curley’s injury was such that in the exercise of reasonable diligence it was
    not discoverable to him until a date within three years of the commencement of this action.
    R.I.G.L § 9-1-14.1(2).

             8.     By reason of the foregoing, plaintiff Catherine M. Curley has been and will
    continue to be deprived of the services, affection, society, and consortium of her late
    husband Leo M. Curley, Jr., which damages are remunerable under R.I. Gen. Laws §10-7-
    1.2(a), and was otherwise damaged.

          9.      By reason of the foregoing, Leo M. Curley, Jr.’s estate has incurred expenses
    for medical and nursing treatment and care, medicines, counseling, and the like, which
    damages are remunerable under R.I. Gen. Laws §10-7-5.

            10.    By reason of the foregoing, the statutory beneficiaries of Leo M. Curley, Jr.’s
    estate have suffered damages as set forth in R.I. Gen. Laws §10-7-1 et seq., including
    pecuniary damages as provided under R.I. Gen Laws §10-7-1.1, and were otherwise
    damaged.

            11.     As a direct and proximate result of defendant Urology Associates, Inc.’s
    negligence as aforesaid, Leo M. Curley, Jr. suffered severe injuries to his mind, body, nerves
    and nervous system, and endured extreme mental pain and suffering, all of which damages
    are remunerable on behalf of the estate of Leo M. Curley, Jr., as set forth under R.I. Gen
    Laws §10-7-7.

           12.     By reason of the foregoing, Leo M. Curley, Jr.’s estate incurred funeral and
    administration expenses, which damages are remunerable on behalf of the estate under R.I.
    Gen. Laws §10-7-5.

            WHEREFORE, plaintiff Catherine M. Curley, Individually and as Personal
    Representative of the Estate of Leo M. Curley, Jr. demands judgment against defendant
    Urology Associates, Inc. in an amount exceeding the jurisdictional minimum of this Court,
    exclusive of interest and costs, and whatever further relief this Court deems just.

                                           COUNT V
                                      VICARIOUS LIABILITY
                                    UROLOGY ASSOCIATES, INC.

            1.     Counts III and IV are hereby incorporated by reference as if fully set forth at
    length herein.

            2.     At all material times, defendant Richard T. Zuerner, M.D. was an employee,
    agent, apparent agent, and/or servant of defendant Urology Associates, Inc. and was acting
    within the scope of his employment or agency.

            3.      At all relevant times, defendant Urology Associates, Inc. was vicariously
    responsible for the acts and conduct of its employees, agents, apparent agents, and servants,
    including, but not limited to, the negligent acts or conduct of defendant Richard T. Zuerner,
    M.D., as set forth.


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            4.      As a direct and proximate result of defendant Urology Associates, Inc.’s
    negligence as aforesaid, Mr. Curley suffered severe personal injuries and ultimately died.

           5.      On or about September 4, 2014, Mr. Curley was first diagnosed with
    amyloidosis by his nephrologist Joseph Romanello, M.D.

           6.      Mr. Curley passed away on November 18, 2017 as a result of acute diastolic
    congestive heart failure and end stage renal disease secondary to amyloidosis.

            7.     Mr. Curley’s injury was such that in the exercise of reasonable diligence it was
    not discoverable to him until a date within three years of the commencement of this action.
    R.I.G.L § 9-1-14.1(2).

             8.     By reason of the foregoing, plaintiff Catherine M. Curley has been and will
    continue to be deprived of the services, affection, society, and consortium of her late
    husband Leo M. Curley, Jr., which damages are remunerable under R.I. Gen. Laws §10-7-
    1.2(a), and was otherwise damaged.

          9.      By reason of the foregoing, Leo M. Curley, Jr.’s estate has incurred expenses
    for medical and nursing treatment and care, medicines, counseling, and the like, which
    damages are remunerable under R.I. Gen. Laws §10-7-5.

            10.    By reason of the foregoing, the statutory beneficiaries of Leo M. Curley, Jr.’s
    estate have suffered damages as set forth in R.I. Gen. Laws §10-7-1 et seq., including
    pecuniary damages as provided under R.I. Gen Laws §10-7-1.1, and were otherwise
    damaged.

            11.     As a direct and proximate result of defendant Urology Associates, Inc.’s
    negligence as aforesaid, Leo M. Curley, Jr. suffered severe injuries to his mind, body, nerves
    and nervous system, and endured extreme mental pain and suffering, all of which damages
    are remunerable on behalf of the estate of Leo M. Curley, Jr., as set forth under R.I. Gen
    Laws §10-7-7.

           12.     By reason of the foregoing, Leo M. Curley, Jr.’s estate incurred funeral and
    administration expenses, which damages are remunerable on behalf of the estate under R.I.
    Gen. Laws §10-7-5.

            WHEREFORE, plaintiff Catherine M. Curley, Individually and as Personal
    Representative of the Estate of Leo M. Curley, Jr. demands judgment against defendant
    Urology Associates, Inc. in an amount exceeding the jurisdictional minimum of this Court,
    exclusive of interest and costs, and whatever further relief this Court deems just.




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                                            COUNT VI
                                           NEGLIGENCE
                                        AARON W. WAY, D.O.

              1.    Plaintiffs hereby incorporate Paragraphs 1 through 9 as if fully set forth
    herein.

           2.      On or about July 31, 2008 and thereafter, defendant Aaron W. Way, D.O.
    undertook for a valuable consideration to diagnose, treat, and care for Mr. Curley.

            3.       It then and there became and was the duty of defendant Aaron W. Way,
    D.O. to exercise that degree of diligence and skill required of the average physician engaged
    in the practice of urology.

            4.     Nevertheless, defendant Aaron W. Way, D.O. disregarded his duty as
    aforesaid and failed to exercise said degree of diligence and skill in that he failed to properly
    diagnose and failed to render adequate, proper, and necessary treatment to Mr. Curley and
    was otherwise negligent in his diagnosis, treatment, and care of him.

           5.      On or about September 4, 2014, Mr. Curley was first diagnosed with
    amyloidosis by his nephrologist Joseph Romanello, M.D.

           6.      Mr. Curley passed away on November 18, 2017 as a result of acute diastolic
    congestive heart failure and end stage renal disease secondary to amyloidosis.

            7.     Mr. Curley’s injury was such that in the exercise of reasonable diligence it was
    not discoverable to him until a date within three years of the commencement of this action.
    R.I.G.L § 9-1-14.1(2).

            8.      As a direct and proximate result of defendant Aaron W. Way, D.O.’s
    negligence as aforesaid, Mr. Curley suffered severe personal injuries and ultimately died.

             9.     By reason of the foregoing, plaintiff Catherine M. Curley has been and will
    continue to be deprived of the services, affection, society, and consortium of her late
    husband Leo M. Curley, Jr., which damages are remunerable under R.I. Gen. Laws §10-7-
    1.2(a), and was otherwise damaged.

          10.     By reason of the foregoing, Leo M. Curley, Jr.’s estate has incurred expenses
    for medical and nursing treatment and care, medicines, counseling, and the like, which
    damages are remunerable under R.I. Gen. Laws §10-7-5.

            11.    By reason of the foregoing, the statutory beneficiaries of Leo M. Curley, Jr.’s
    estate have suffered damages as set forth in R.I. Gen. Laws §10-7-1 et seq., including
    pecuniary damages as provided under R.I. Gen Laws §10-7-1.1, and were otherwise
    damaged.




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             12.     As a direct and proximate result of defendant Aaron W. Way, D.O.’s
     negligence as aforesaid, Leo M. Curley, Jr. suffered severe injuries to his mind, body, nerves
     and nervous system, and endured extreme mental pain and suffering, all of which damages
     are remunerable on behalf of the estate of Leo M. Curley, Jr., as set forth under R.I. Gen
     Laws §10-7-7.

            13.     By reason of the foregoing, Leo M. Curley, Jr.’s estate incurred funeral and
     administration expenses, which damages are remunerable on behalf of the estate under R.I.
     Gen. Laws §10-7-5.

             WHEREFORE, plaintiff Catherine M. Curley, Individually and as Personal
     Representative of the Estate of Leo M. Curley, Jr. demands judgment against defendant
     Aaron W. Way, D.O. in an amount exceeding the jurisdictional minimum of this Court,
     exclusive of interest and costs, and whatever further relief this Court deems just.

                                            COUNT VII
                                   LACK OF INFORMED CONSENT
                                      AARON W. WAY, D.O.

            1.      Plaintiffs hereby incorporate Count VI as if fully set forth herein.

             2.     It then and there became the duty of defendant Aaron W. Way, D.O., no
     emergency existing, to inform Mr. Curley of the risks of harm attendant to the treatment and
     care he proposed to administer to and perform upon him so that he could give his informed
     consent to such treatment. It also then and there became the duty of defendant Aaron W.
     Way, D.O. to obtain Mr. Curley’s informed consent before proceeding with said treatment
     and care.

             3.      Nevertheless, defendant Aaron W. Way, D.O. disregarded his duty as
     aforesaid and failed to inform Mr. Curley of the risks of harm attendant to the treatment and
     care in question and proceeded to perform said treatment and care without having obtained
     Mr. Curley’s informed consent.

             4.     If defendant Aaron W. Way, D.O. had informed Mr. Curley of the risks of
     harm attendant to the treatment and care in question, including, but not limited to, the risk
     that he might suffer those injuries from which he suffered as a direct performance of said
     treatment and care, Mr. Curley would have refused to consent to the performance of the
     treatment and care therein involved.

            5.      On or about September 4, 2014, Mr. Curley was first diagnosed with
     amyloidosis by his nephrologist Joseph Romanello, M.D.

            6.      Mr. Curley passed away on November 18, 2017 as a result of acute diastolic
     congestive heart failure and end stage renal disease secondary to amyloidosis.

             7.     Mr. Curley’s injury was such that in the exercise of reasonable diligence it was
     not discoverable to him until a date within three years of the commencement of this action.
     R.I.G.L § 9-1-14.1(2).

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             8.      As a direct and proximate result of defendant Aaron W. Way, D.O.’s
     negligence as aforesaid, Mr. Curley suffered severe personal injuries and ultimately died.

              9.     By reason of the foregoing, plaintiff Catherine M. Curley has been and will
     continue to be deprived of the services, affection, society, and consortium of her late
     husband Leo M. Curley, Jr., which damages are remunerable under R.I. Gen. Laws §10-7-
     1.2(a), and was otherwise damaged.

           10.     By reason of the foregoing, Leo M. Curley, Jr.’s estate has incurred expenses
     for medical and nursing treatment and care, medicines, counseling, and the like, which
     damages are remunerable under R.I. Gen. Laws §10-7-5.

             11.    By reason of the foregoing, the statutory beneficiaries of Leo M. Curley, Jr.’s
     estate have suffered damages as set forth in R.I. Gen. Laws §10-7-1 et seq., including
     pecuniary damages as provided under R.I. Gen Laws §10-7-1.1, and were otherwise
     damaged.

             12.     As a direct and proximate result of defendant Aaron W. Way, D.O.’s
     negligence as aforesaid, Leo M. Curley, Jr. suffered severe injuries to his mind, body, nerves
     and nervous system, and endured extreme mental pain and suffering, all of which damages
     are remunerable on behalf of the estate of Leo M. Curley, Jr., as set forth under R.I. Gen
     Laws §10-7-7.

            13.     By reason of the foregoing, Leo M. Curley, Jr.’s estate incurred funeral and
     administration expenses, which damages are remunerable on behalf of the estate under R.I.
     Gen. Laws §10-7-5.

             WHEREFORE, plaintiff Catherine M. Curley, Individually and as Personal
     Representative of the Estate of Leo M. Curley, Jr. demands judgment against defendant
     Aaron W. Way, D.O. in an amount exceeding the jurisdictional minimum of this Court,
     exclusive of interest and costs, and whatever further relief this Court deems just.

                                        COUNT VIII
                                        NEGLIGENCE
                              OSTEOPATHIC FAMILY MEDICINE, LLC

             1.   On or about July 31, 2008 and thereafter defendant Osteopathic Family
     Medicine, LLC undertook for a valuable consideration to diagnose treat and care for Mr.
     Curley.

            2.       It then and there became and was the duty of said defendant Osteopathic
     Family Medicine, LLC, through its agents, servants, employees and partners, to exercise
     ordinary care in the diagnosis, treatment and care of Mr. Curley.

             3.      Nevertheless, defendant Osteopathic Family Medicine, LLC disregarded its
     duty as aforesaid and, through its agents, servants, employees, and partners, failed to exercise
     said ordinary care in that the employees, agents, servants, and/or partners of defendant


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     Osteopathic Family Medicine, LLC failed to properly diagnose and failed to render adequate,
     proper and necessary treatment to Mr. Curley and were otherwise negligent in their
     diagnosis, treatment, and care of him.

           4.       As a direct and proximate result of defendant Osteopathic Family Medicine,
     LLC’s negligence as aforesaid, Mr. Curley suffered severe personal injuries and ultimately
     died.

            5.      On or about September 4, 2014, Mr. Curley was first diagnosed with
     amyloidosis by his nephrologist Joseph Romanello, M.D.

            6.      Mr. Curley passed away on November 18, 2017 as a result of acute diastolic
     congestive heart failure and end stage renal disease secondary to amyloidosis.

             7.     Mr. Curley’s injury was such that in the exercise of reasonable diligence it was
     not discoverable to him until a date within three years of the commencement of this action.
     R.I.G.L § 9-1-14.1(2).

              8.     By reason of the foregoing, plaintiff Catherine M. Curley has been and will
     continue to be deprived of the services, affection, society, and consortium of her late
     husband Leo M. Curley, Jr., which damages are remunerable under R.I. Gen. Laws §10-7-
     1.2(a), and was otherwise damaged.

           9.      By reason of the foregoing, Leo M. Curley, Jr.’s estate has incurred expenses
     for medical and nursing treatment and care, medicines, counseling, and the like, which
     damages are remunerable under R.I. Gen. Laws §10-7-5.

             10.    By reason of the foregoing, the statutory beneficiaries of Leo M. Curley, Jr.’s
     estate have suffered damages as set forth in R.I. Gen. Laws §10-7-1 et seq., including
     pecuniary damages as provided under R.I. Gen Laws §10-7-1.1, and were otherwise
     damaged.

            11.    As a direct and proximate result of defendant Osteopathic Family Medicine,
     LLC’s negligence as aforesaid, Leo M. Curley, Jr. suffered severe injuries to his mind, body,
     nerves and nervous system, and endured extreme mental pain and suffering, all of which
     damages are remunerable on behalf of the estate of Leo M. Curley, Jr., as set forth under R.I.
     Gen Laws §10-7-7.

            12.     By reason of the foregoing, Leo M. Curley, Jr.’s estate incurred funeral and
     administration expenses, which damages are remunerable on behalf of the estate under R.I.
     Gen. Laws §10-7-5.

            WHEREFORE, plaintiff Catherine M. Curley, Individually and as Personal
     Representative of the Estate of Leo M. Curley, Jr. demands judgment against defendant
     Osteopathic Family Medicine, LLC in an amount exceeding the jurisdictional minimum of
     this Court, exclusive of interest and costs, and whatever further relief this Court deems just.




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                                         COUNT IX
                                    CORPORATE LIABILITY
                              OSTEOPATHIC FAMILY MEDICINE, LLC

            1.      Plaintiffs hereby incorporate Count VIII as if fully set forth herein.

            2.      It then and there became and was the duty of defendant Osteopathic Family
     Medicine, LLC to provide quality medical care to Mr. Curley to exercise the care in granting
     credentials and privileges to those providing care and treatment at Osteopathic Family
     Medicine, LLC, to protect his safety, to protect him from incompetent and/or negligent
     treatment, and to otherwise exercise reasonable care for his protection and well-being.

             3.       Nevertheless, defendant Osteopathic Family Medicine, LLC negligently
     disregarded its duty as aforesaid in that it failed to promulgate and enforce policies and
     procedures to insure the delivery of ordinary medical group care and otherwise failed to
     discharge its responsibilities as a medical group to Mr. Curley.

           4.       As a direct and proximate result of defendant Osteopathic Family Medicine,
     LLC’s negligence as aforesaid, Mr. Curley suffered severe personal injuries and ultimately
     died.

            5.      On or about September 4, 2014, Mr. Curley was first diagnosed with
     amyloidosis by his nephrologist Joseph Romanello, M.D.

            6.      Mr. Curley passed away on November 18, 2017 as a result of acute diastolic
     congestive heart failure and end stage renal disease secondary to amyloidosis.

             7.     Mr. Curley’s injury was such that in the exercise of reasonable diligence it was
     not discoverable to him until a date within three years of the commencement of this action.
     R.I.G.L § 9-1-14.1(2).

              8.     By reason of the foregoing, plaintiff Catherine M. Curley has been and will
     continue to be deprived of the services, affection, society, and consortium of her late
     husband Leo M. Curley, Jr., which damages are remunerable under R.I. Gen. Laws §10-7-
     1.2(a), and was otherwise damaged.

           9.      By reason of the foregoing, Leo M. Curley, Jr.’s estate has incurred expenses
     for medical and nursing treatment and care, medicines, counseling, and the like, which
     damages are remunerable under R.I. Gen. Laws §10-7-5.

             10.    By reason of the foregoing, the statutory beneficiaries of Leo M. Curley, Jr.’s
     estate have suffered damages as set forth in R.I. Gen. Laws §10-7-1 et seq., including
     pecuniary damages as provided under R.I. Gen Laws §10-7-1.1, and were otherwise
     damaged.




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            11.    As a direct and proximate result of defendant Osteopathic Family Medicine,
     LLC’s negligence as aforesaid, Leo M. Curley, Jr. suffered severe injuries to his mind, body,
     nerves and nervous system, and endured extreme mental pain and suffering, all of which
     damages are remunerable on behalf of the estate of Leo M. Curley, Jr., as set forth under R.I.
     Gen Laws §10-7-7.

            12.     By reason of the foregoing, Leo M. Curley, Jr.’s estate incurred funeral and
     administration expenses, which damages are remunerable on behalf of the estate under R.I.
     Gen. Laws §10-7-5.

            WHEREFORE, plaintiff Catherine M. Curley, Individually and as Personal
     Representative of the Estate of Leo M. Curley, Jr. demands judgment against defendant
     Osteopathic Family Medicine, LLC in an amount exceeding the jurisdictional minimum of
     this Court, exclusive of interest and costs, and whatever further relief this Court deems just.

                                          COUNT X
                                     VICARIOUS LIABILITY
                              OSTEOPATHIC FAMILY MEDICINE, LLC

             1.      Counts VIII through IX are hereby incorporated by reference as if fully set
     forth at length herein.

             2.     At all material times, defendant Aaron W. Way, D.O. was an employee,
     agent, apparent agent, and/or servant of defendant Osteopathic Family Medicine, LLC and
     was acting within the scope of his employment or agency.

             3.      At all relevant times, defendant Osteopathic Family Medicine, LLC was
     vicariously responsible for the acts and conduct of its employees, agents, apparent agents,
     and servants, including, but not limited to, the negligent acts or conduct of defendant Aaron
     W. Way, D.O., as set forth.

           4.       As a direct and proximate result of defendant Osteopathic Family Medicine,
     LLC’s negligence as aforesaid, Mr. Curley suffered severe personal injuries and ultimately
     died.

            5.      On or about September 4, 2014, Mr. Curley was first diagnosed with
     amyloidosis by his nephrologist Joseph Romanello, M.D.

            6.      Mr. Curley passed away on November 18, 2017 as a result of acute diastolic
     congestive heart failure and end stage renal disease secondary to amyloidosis.

             7.     Mr. Curley’s injury was such that in the exercise of reasonable diligence it was
     not discoverable to him until a date within three years of the commencement of this action.
     R.I.G.L § 9-1-14.1(2).




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              8.     By reason of the foregoing, plaintiff Catherine M. Curley has been and will
     continue to be deprived of the services, affection, society, and consortium of her late
     husband Leo M. Curley, Jr., which damages are remunerable under R.I. Gen. Laws §10-7-
     1.2(a), and was otherwise damaged.

           9.      By reason of the foregoing, Leo M. Curley, Jr.’s estate has incurred expenses
     for medical and nursing treatment and care, medicines, counseling, and the like, which
     damages are remunerable under R.I. Gen. Laws §10-7-5.

             10.    By reason of the foregoing, the statutory beneficiaries of Leo M. Curley, Jr.’s
     estate have suffered damages as set forth in R.I. Gen. Laws §10-7-1 et seq., including
     pecuniary damages as provided under R.I. Gen Laws §10-7-1.1, and were otherwise
     damaged.

            11.    As a direct and proximate result of defendant Osteopathic Family Medicine,
     LLC’s negligence as aforesaid, Leo M. Curley, Jr. suffered severe injuries to his mind, body,
     nerves and nervous system, and endured extreme mental pain and suffering, all of which
     damages are remunerable on behalf of the estate of Leo M. Curley, Jr., as set forth under R.I.
     Gen Laws §10-7-7.

            12.     By reason of the foregoing, Leo M. Curley, Jr.’s estate incurred funeral and
     administration expenses, which damages are remunerable on behalf of the estate under R.I.
     Gen. Laws §10-7-5.

            WHEREFORE, plaintiff Catherine M. Curley, Individually and as Personal
     Representative of the Estate of Leo M. Curley, Jr. demands judgment against defendant
     Osteopathic Family Medicine, LLC in an amount exceeding the jurisdictional minimum of
     this Court, exclusive of interest and costs, and whatever further relief this Court deems just.

                                            COUNT XI
                                          NEGLIGENCE
                                    JOHN/JANE DOE, M.D., ALIAS

               1.    Plaintiffs hereby incorporate Paragraphs 1 through 9 as if fully set forth
     herein.

            2.      During the relevant timeframe, defendant John/Jane Doe, M.D., Alias
     undertook for a valuable consideration to diagnose, treat, and care for Mr. Curley.

            3.      It then and there became and was the duty of defendant John/Jane Doe,
     M.D., Alias to exercise that degree of diligence and skill required of the average physician
     engaged in the practice of urology.

             4.     Nevertheless, defendant John/Jane Doe, M.D., Alias disregarded his duty as
     aforesaid and failed to exercise said degree of diligence and skill in that he failed to properly
     diagnose and failed to render adequate, proper, and necessary treatment to Mr. Curley and
     was otherwise negligent in his diagnosis, treatment, and care of him.



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            5.      On or about September 4, 2014, Mr. Curley was first diagnosed with
     amyloidosis by his nephrologist Joseph Romanello, M.D.

            6.      Mr. Curley passed away on November 18, 2017 as a result of acute diastolic
     congestive heart failure and end stage renal disease secondary to amyloidosis.

             7.     Mr. Curley’s injury was such that in the exercise of reasonable diligence it was
     not discoverable to him until a date within three years of the commencement of this action.
     R.I.G.L § 9-1-14.1(2).

           8.       As a direct and proximate result of defendant Osteopathic Family Medicine,
     LLC’s negligence as aforesaid, Mr. Curley suffered severe personal injuries and ultimately
     died.

              9.     By reason of the foregoing, plaintiff Catherine M. Curley has been and will
     continue to be deprived of the services, affection, society, and consortium of her late
     husband Leo M. Curley, Jr., which damages are remunerable under R.I. Gen. Laws §10-7-
     1.2(a), and was otherwise damaged.

           10.     By reason of the foregoing, Leo M. Curley, Jr.’s estate has incurred expenses
     for medical and nursing treatment and care, medicines, counseling, and the like, which
     damages are remunerable under R.I. Gen. Laws §10-7-5.

             11.    By reason of the foregoing, the statutory beneficiaries of Leo M. Curley, Jr.’s
     estate have suffered damages as set forth in R.I. Gen. Laws §10-7-1 et seq., including
     pecuniary damages as provided under R.I. Gen Laws §10-7-1.1, and were otherwise
     damaged.

             12.     As a direct and proximate result of defendant John/Jane Doe, M.D., Alias’s
     negligence as aforesaid, Leo M. Curley, Jr. suffered severe injuries to his mind, body, nerves
     and nervous system, and endured extreme mental pain and suffering, all of which damages
     are remunerable on behalf of the estate of Leo M. Curley, Jr., as set forth under R.I. Gen
     Laws §10-7-7.

            13.     By reason of the foregoing, Leo M. Curley, Jr.’s estate incurred funeral and
     administration expenses, which damages are remunerable on behalf of the estate under R.I.
     Gen. Laws §10-7-5.

             WHEREFORE, plaintiff Catherine M. Curley, Individually and as Personal
     Representative of the Estate of Leo M. Curley, Jr. demands judgment against defendant
     John/Jane Doe, M.D., Alias in an amount exceeding the jurisdictional minimum of this
     Court, exclusive of interest and costs, and whatever further relief this Court deems just.

                                            COUNT XII
                                   LACK OF INFORMED CONSENT
                                   JOHN/JANE DOE, M.D., ALIAS

            1.      Plaintiffs hereby incorporate Count XI as if fully set forth herein.


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              2.     It then and there became the duty of defendant John/Jane Doe, M.D., Alias,
     no emergency existing, to inform Mr. Curley of the risks of harm attendant to the treatment
     and care he proposed to administer to and perform upon him so that he could give his
     informed consent to such treatment. It also then and there became the duty of defendant
     John/Jane Doe, M.D., Alias to obtain Mr. Curley’s informed consent before proceeding with
     said treatment and care.

             3.      Nevertheless, defendant John/Jane Doe, M.D., Alias disregarded his duty as
     aforesaid and failed to inform Mr. Curley of the risks of harm attendant to the treatment and
     care in question and proceeded to perform said treatment and care without having obtained
     Mr. Curley’s informed consent.

              4.      If defendant John/Jane Doe, M.D., Alias had informed Mr. Curley of the
     risks of harm attendant to the treatment and care in question, including, but not limited to,
     the risk that he might suffer those injuries from which he suffered as a direct performance of
     said treatment and care, Mr. Curley would have refused to consent to the performance of the
     treatment and care therein involved.

            5.      On or about September 4, 2014, Mr. Curley was first diagnosed with
     amyloidosis by his nephrologist Joseph Romanello, M.D.

            6.      Mr. Curley passed away on November 18, 2017 as a result of acute diastolic
     congestive heart failure and end stage renal disease secondary to amyloidosis.

             7.     Mr. Curley’s injury was such that in the exercise of reasonable diligence it was
     not discoverable to him until a date within three years of the commencement of this action.
     R.I.G.L § 9-1-14.1(2).

           8.       As a direct and proximate result of defendant Osteopathic Family Medicine,
     LLC’s negligence as aforesaid, Mr. Curley suffered severe personal injuries and ultimately
     died.

              9.     By reason of the foregoing, plaintiff Catherine M. Curley has been and will
     continue to be deprived of the services, affection, society, and consortium of her late
     husband Leo M. Curley, Jr., which damages are remunerable under R.I. Gen. Laws §10-7-
     1.2(a), and was otherwise damaged.

           10.     By reason of the foregoing, Leo M. Curley, Jr.’s estate has incurred expenses
     for medical and nursing treatment and care, medicines, counseling, and the like, which
     damages are remunerable under R.I. Gen. Laws §10-7-5.

             11.    By reason of the foregoing, the statutory beneficiaries of Leo M. Curley, Jr.’s
     estate have suffered damages as set forth in R.I. Gen. Laws §10-7-1 et seq., including
     pecuniary damages as provided under R.I. Gen Laws §10-7-1.1, and were otherwise
     damaged.




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             12.     As a direct and proximate result of defendant John/Jane Doe, M.D., Alias’s
     negligence as aforesaid, Leo M. Curley, Jr. suffered severe injuries to his mind, body, nerves
     and nervous system, and endured extreme mental pain and suffering, all of which damages
     are remunerable on behalf of the estate of Leo M. Curley, Jr., as set forth under R.I. Gen
     Laws §10-7-7.

            13.     By reason of the foregoing, Leo M. Curley, Jr.’s estate incurred funeral and
     administration expenses, which damages are remunerable on behalf of the estate under R.I.
     Gen. Laws §10-7-5.

             WHEREFORE, plaintiff Catherine M. Curley, Individually and as Personal
     Representative of the Estate of Leo M. Curley, Jr. demands judgment against defendant
     John/Jane Doe, M.D., Alias in an amount exceeding the jurisdictional minimum of this
     Court, exclusive of interest and costs, and whatever further relief this Court deems just.

                                          COUNT XIII
                                         NEGLIGENCE
                                  JOHN DOE CORPORATION, ALIAS

            1.      During the relevant timeframe, defendant John Doe Corporation, Alias,
     undertook for valuable consideration to diagnose treat and care for Mr. Curley.

              2.     It then and there became and was the duty of said defendant John Doe
     Corporation, Alias, through its agents, servants, employees and partners, to exercise ordinary
     care in the diagnosis, treatment and care of Mr. Curley.

             3.      Nevertheless, defendant John Doe Corporation, Alias disregarded its duty as
     aforesaid and, through its agents, servants, employees, and partners, failed to exercise said
     ordinary care in that the employees, agents, servants, and/or partners of defendant John
     Doe Corporation, Alias failed to properly diagnose and failed to render adequate, proper and
     necessary treatment to Mr. Curley and were otherwise negligent in its diagnosis, treatment,
     and care of him.

            4.      On or about September 4, 2014, Mr. Curley was first diagnosed with
     amyloidosis by his nephrologist Joseph Romanello, M.D.

            5.      Mr. Curley passed away on November 18, 2017 as a result of acute diastolic
     congestive heart failure and end stage renal disease secondary to amyloidosis.

             6.     Mr. Curley’s injury was such that in the exercise of reasonable diligence it was
     not discoverable to him until a date within three years of the commencement of this action.
     R.I.G.L § 9-1-14.1(2).

           7.       As a direct and proximate result of defendant Osteopathic Family Medicine,
     LLC’s negligence as aforesaid, Mr. Curley suffered severe personal injuries and ultimately
     died.




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              8.     By reason of the foregoing, plaintiff Catherine M. Curley has been and will
     continue to be deprived of the services, affection, society, and consortium of her late
     husband Leo M. Curley, Jr., which damages are remunerable under R.I. Gen. Laws §10-7-
     1.2(a), and was otherwise damaged.

           9.      By reason of the foregoing, Leo M. Curley, Jr.’s estate has incurred expenses
     for medical and nursing treatment and care, medicines, counseling, and the like, which
     damages are remunerable under R.I. Gen. Laws §10-7-5.

             10.    By reason of the foregoing, the statutory beneficiaries of Leo M. Curley, Jr.’s
     estate have suffered damages as set forth in R.I. Gen. Laws §10-7-1 et seq., including
     pecuniary damages as provided under R.I. Gen Laws §10-7-1.1, and were otherwise
     damaged.

             11.     As a direct and proximate result of defendant John Doe Corporation, Alias’s
     negligence as aforesaid, Leo M. Curley, Jr. suffered severe injuries to his mind, body, nerves
     and nervous system, and endured extreme mental pain and suffering, all of which damages
     are remunerable on behalf of the estate of Leo M. Curley, Jr., as set forth under R.I. Gen
     Laws §10-7-7.

            12.     By reason of the foregoing, Leo M. Curley, Jr.’s estate incurred funeral and
     administration expenses, which damages are remunerable on behalf of the estate under R.I.
     Gen. Laws §10-7-5.

             WHEREFORE, plaintiff Catherine M. Curley, Individually and as Personal
     Representative of the Estate of Leo M. Curley, Jr. demands judgment against defendant John
     Doe Corporation, Alias in an amount exceeding the jurisdictional minimum of this Court,
     exclusive of interest and costs, and whatever further relief this Court deems just.

                                         COUNT XIV
                                     CORPORATE LIABILITY
                                 JOHN DOE CORPORATION, ALIAS

            1.      Plaintiffs hereby incorporate Counts XIII as if fully set forth herein.

             2.     It then and there became and was the duty of defendant John Doe
     Corporation, Alias to provide quality medical care to Mr. Curley to exercise the care in
     granting credentials and privileges to those providing care and treatment at John Doe
     Corporation, Alias, to protect his safety, to protect him from incompetent and/or negligent
     treatment, and to otherwise exercise reasonable care for his protection and well-being.

             3.       Nevertheless, defendant John Doe Corporation, Alias negligently disregarded
     its duty as aforesaid in that it failed to promulgate and enforce policies and procedures to
     insure the delivery of ordinary medical group care and otherwise failed to discharge its
     responsibilities as a medical group to Mr. Curley.

            4.      On or about September 4, 2014, Mr. Curley was first diagnosed with
     amyloidosis by his nephrologist Joseph Romanello, M.D.


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            5.      Mr. Curley passed away on November 18, 2017 as a result of acute diastolic
     congestive heart failure and end stage renal disease secondary to amyloidosis.

             6.     Mr. Curley’s injury was such that in the exercise of reasonable diligence it was
     not discoverable to him until a date within three years of the commencement of this action.
     R.I.G.L § 9-1-14.1(2).

           7.       As a direct and proximate result of defendant Osteopathic Family Medicine,
     LLC’s negligence as aforesaid, Mr. Curley suffered severe personal injuries and ultimately
     died.

              8.     By reason of the foregoing, plaintiff Catherine M. Curley has been and will
     continue to be deprived of the services, affection, society, and consortium of her late
     husband Leo M. Curley, Jr., which damages are remunerable under R.I. Gen. Laws §10-7-
     1.2(a), and was otherwise damaged.

           9.      By reason of the foregoing, Leo M. Curley, Jr.’s estate has incurred expenses
     for medical and nursing treatment and care, medicines, counseling, and the like, which
     damages are remunerable under R.I. Gen. Laws §10-7-5.

             10.    By reason of the foregoing, the statutory beneficiaries of Leo M. Curley, Jr.’s
     estate have suffered damages as set forth in R.I. Gen. Laws §10-7-1 et seq., including
     pecuniary damages as provided under R.I. Gen Laws §10-7-1.1, and were otherwise
     damaged.

             11.     As a direct and proximate result of defendant John Doe Corporation, Alias’s
     negligence as aforesaid, Leo M. Curley, Jr. suffered severe injuries to his mind, body, nerves
     and nervous system, and endured extreme mental pain and suffering, all of which damages
     are remunerable on behalf of the estate of Leo M. Curley, Jr., as set forth under R.I. Gen
     Laws §10-7-7.

            12.     By reason of the foregoing, Leo M. Curley, Jr.’s estate incurred funeral and
     administration expenses, which damages are remunerable on behalf of the estate under R.I.
     Gen. Laws §10-7-5.

             WHEREFORE, plaintiff Catherine M. Curley, Individually and as Personal
     Representative of the Estate of Leo M. Curley, Jr. demands judgment against defendant John
     Doe Corporation, Alias in an amount exceeding the jurisdictional minimum of this Court,
     exclusive of interest and costs, and whatever further relief this Court deems just.

                                          COUNT XV
                                      VICARIOUS LIABILITY
                                  JOHN DOE CORPORATION, ALIAS

             1.      Counts XIII and XIV are hereby incorporated by reference as if fully set
     forth at length herein.



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            2.      At all material times, defendant John/Jane Doe, M.D., Alias was an
     employee, agent, apparent agent, and/or servant of defendant John Doe Corporation, Alias
     and was acting within the scope of his/her employment or agency.

             3.      At all relevant times, defendant John Doe Corporation, Alias was vicariously
     responsible for the acts and conduct of its employees, agents, apparent agents, and servants,
     including, but not limited to, the negligent acts or conduct of defendant John/Jane Doe,
     M.D., Alias, as set forth.

            4.      On or about September 4, 2014, Mr. Curley was first diagnosed with
     amyloidosis by his nephrologist Joseph Romanello, M.D.

            5.      Mr. Curley passed away on November 18, 2017 as a result of acute diastolic
     congestive heart failure and end stage renal disease secondary to amyloidosis.

             6.     Mr. Curley’s injury was such that in the exercise of reasonable diligence it was
     not discoverable to him until a date within three years of the commencement of this action.
     R.I.G.L § 9-1-14.1(2).

           7.       As a direct and proximate result of defendant Osteopathic Family Medicine,
     LLC’s negligence as aforesaid, Mr. Curley suffered severe personal injuries and ultimately
     died.

              8.     By reason of the foregoing, plaintiff Catherine M. Curley has been and will
     continue to be deprived of the services, affection, society, and consortium of her late
     husband Leo M. Curley, Jr., which damages are remunerable under R.I. Gen. Laws §10-7-
     1.2(a), and was otherwise damaged.

           9.      By reason of the foregoing, Leo M. Curley, Jr.’s estate has incurred expenses
     for medical and nursing treatment and care, medicines, counseling, and the like, which
     damages are remunerable under R.I. Gen. Laws §10-7-5.

             10.    By reason of the foregoing, the statutory beneficiaries of Leo M. Curley, Jr.’s
     estate have suffered damages as set forth in R.I. Gen. Laws §10-7-1 et seq., including
     pecuniary damages as provided under R.I. Gen Laws §10-7-1.1, and were otherwise
     damaged.

             11.     As a direct and proximate result of defendant John Doe Corporation, Alias’s
     negligence as aforesaid, Leo M. Curley, Jr. suffered severe injuries to his mind, body, nerves
     and nervous system, and endured extreme mental pain and suffering, all of which damages
     are remunerable on behalf of the estate of Leo M. Curley, Jr., as set forth under R.I. Gen
     Laws §10-7-7.

            12.     By reason of the foregoing, Leo M. Curley, Jr.’s estate incurred funeral and
     administration expenses, which damages are remunerable on behalf of the estate under R.I.
     Gen. Laws §10-7-5.




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             WHEREFORE, plaintiff Catherine M. Curley, Individually and as Personal
     Representative of the Estate of Leo M. Curley, Jr. demands judgment against defendant John
     Doe Corporation, Alias in an amount exceeding the jurisdictional minimum of this Court,
     exclusive of interest and costs, and whatever further relief this Court deems just.

                                                 Plaintiff,
                                                 By her attorneys,


                                                 /s/ Amato A. DeLuca______________
                                                 Amato A. DeLuca (#0531)
                                                 Miriam Weizenbaum (#5182)
                                                 Candace Brown Casey (#7986)
                                                 DeLUCA & WEIZENBAUM, LTD.
                                                 199 North Main Street
                                                 Providence, RI 02903
                                                 (401) 453-1500
                                                 (401) 453-1501 Fax

     Dated: March 20, 2018

     PLAINTIFF DEMANDS A TRIAL BY JURY AND
     DESIGNATE AMATO A. DeLUCA AS TRIAL COUNSEL




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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF RHODE ISLAND

     CATHERINE M. CURLEY, Individually and as                :
     Personal Representative of the                          :
     Estate of Leo Mr. Curley, Jr.                           :
                                                             :
             v.                                              :   C.A. No.: 1:16-cv-00676-M-PAS
                                                             :
     RICHARD T. ZUERNER, M.D.,                               :
     UROLOGY ASSOCIATES, INC.,                               :
     AARON W. WAY, D.O.,                                     :
     OSTEOPATHIC FAMILY MEDICINE, LLC,                       :
     JOHN/JANE DOE, M.D., Alias, and                         :
     JOHN DOE CORPORATION, Alias                             :


                                          CERTIFICATION

             I hereby certify that this document was filed through the ECF system and will be

     sent electronically to the registered participants identified on the Notice of Electronic Filing

     (NEF) and that paper copies have been sent to those indicated as non-registered participants

     on this 20th day of March 2018.



                                                     /s/ Amato A. DeLuca__________________




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